       Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 1 of 22




                                    No. 20-1047C
                                (Senior Judge Wolski)


               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                BID PROTEST


                             OPEN TECHNOLOGY FUND,

                                      Plaintiff,

                                         v.

                               THE UNITED STATES,

                                     Defendant.

               DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE
           TO DEFENDANT’S CROSS-MOTION FOR PARTIAL DISMISSAL



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            Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 2 of 22




                                                   TABLE OF CONTENTS


INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 3

          I.         The Court Should Dismiss Count IV Because OTF Has Not
                     Demonstrated That Its Claim Is In Connection With A
                     Procurement Or Proposed Procurement.................................................................. 3

                     A.         OTF’s Argument That It Has A Procurement Contract With
                                USAGM Is Waived And Estopped ............................................................. 3

                     B.         The Principal Purpose Of The Relationship Between
                                USAGM And OTF Is To Transfer A Thing Of Value To
                                OTF To Support And Stimulate The Public Purpose Of
                                Promoting Internet Freedom ....................................................................... 6

          II.        OTF Lacks Standing Because It Has Not Shown That It Is A
                     Qualified Bidder For The “Procurement Contract” It Seeks .................................. 8

          III.       OTF Has Not Made A Non-Frivolous Allegation That USAGM’s
                     Alleged In-sourcing Violated A Statute Or Regulation ........................................ 11

          IV.        Count IV Fails To State A Claim Because OTF Has Not Identified
                     Any Statutory Violation, And Budgeting Decisions Regarding
                     How To Allocate Limited Appropriations Are Otherwise
                     Committed To Agency Discretion By Law .......................................................... 16

          V.         Count IV Fails To State A Claim Because OTF Complains About
                     USAGM Performing Inherently Governmental Functions For
                     Which USAGM May Not Contract ...................................................................... 16

CONCLUSION ............................................................................................................................. 17

Index to Appendix

 Document                                                                                                                  Def. Rep.
                                                                                                                           App. Page

 Order Granting Summary Judgment, District of Columbia v. Open Technology                                                         1
 Fund, D.C. Superior Court No. 2020 CA 003185 B, dated October 14, 2020
            Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 3 of 22




                                               TABLE OF AUTHORITIES

CASES                                                                                                                       PAGE(s)

Blue & Gold Fleet, LP v. United States,
  492 F.3d 1308 (Fed. Cir. 2007) ............................................................................................... 5, 6

Boeing Co. v. United States,
 968 F.3d 1371 (Fed. Cir. 2020) ................................................................................................... 5

CardSoft, (assignment for the Benefit of Creditors, LLC v. Verifone, Inc.,
 807 F.3d 1346 (Fed. Cir. 2015) ..................................................................................... 11, 15, 16

CliniComp Int’l, Inc. v. United States,
  904 F.3d 1353 (Fed. Cir. 2018) ............................................................................................. 9, 10

CMS Contract Management Services v. Massachusetts Housing Finance Agency,
 745 F.3d 1379 (Fed. Cir. 2014) ............................................................................................... 5, 7

Dynamics Corp. of Am. v. United States,
 389 F.2d 424 (Ct. Cl. 1968) ......................................................................................................... 4

Electra-Med Corp. v. United States,
  140 Fed. Cl. 94 (2018) ............................................................................................................... 16

Frankel v. United States,
  842 F.3d 1246 (Fed. Cir. 2016) ................................................................................................... 4

Halverson v. Slater,
 129 F.3d 180 (D.C. Cir. 1997)................................................................................................... 14

Home Savings of Am. v. United States,
 399 F.3d 1341 (Fed. Cir. 2005) ................................................................................................. 14

Hymas v. United States,
 810 F.3d 1312 (Fed. Cir. 2016) ................................................................................................... 6

Kellogg Brown & Root Services, Inc. v. United States,
 117 Fed. Cl. 764 (2014) ............................................................................................................... 9

Lincoln v. Vigil,
  508 U.S. 182 (1993) ...................................................................................................... 12, 13, 16

Maintenance Eng’rs v. United States,
 749 F.2d 724 (Fed. Cir. 1984) ..................................................................................................... 4

MG Altus Apache Co. v. United States,
 111 Fed. Cl. 425 (2013) ............................................................................................................. 10


                                                                    ii
             Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 4 of 22




Myers Investigative & Sec. Servs., Inc. v. United States,
 275 F.3d 1366 (Fed. Cir. 2002) ................................................................................................. 10

Mythics, Inc.,
 B-418785, 2020 CPD ¶ 295, 2020 WL 5425788 (Comp. Gen. 2020) ...................................... 16

Philadelphia Auth. for Indus. Dev. v. United States,
 114 Fed. Cl. 519 (2014) ................................................................................................. 11, 15, 16

Ship Analytics, Inc.,
  B-227084, 87-1 CPD ¶ 475, 1987 WL 102305 (Comp. Gen. 1987) ........................................... 6

Torncello v. United States,
  681 F.2d 756 (Ct. Cl. 1982) (en banc) ........................................................................................ 4

STATUTES

22 U.S.C. § 6204 .................................................................................................................... passim

31 U.S.C. § 1532 ........................................................................................................................... 13

31 U.S.C. § 1535 .................................................................................................................... passim

31 U.S.C. § 3324(a) ........................................................................................................................ 8

31 U.S.C. § 6303 ......................................................................................................................... 4, 6

31 U.S.C. § 6304(1) ........................................................................................................................ 4

REGULATIONS

FAR 9.104-1(a) ............................................................................................................................... 9

FAR 9.104-3(b) ............................................................................................................................. 10

FAR 17.502-2 ............................................................................................................................... 15




                                                                      iii
            Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 5 of 22




MISCELLANEOUS

Government Accountability Office,
 Principles of Federal Appropriations Law, Third Ed. (2008) ............................................. 12, 13

Government Accountability Office,
 Principles of Federal Appropriations Law, Fourth Ed. (2016) 1 ..........................................12, 13




        1
         Both editions of Principles of Federal Appropriations Law are available at:
https://www.gao.gov/legal/appropriations-law-decisions/red-book.

                                                      iv
           Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 6 of 22




                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 BID PROTEST

OPEN TECHNOLOGY FUND,                          )
                                               )
               Plaintiff,                      )
                                               )
               v.                              )        No. 20-1047C
                                               )        (Senior Judge Wolski)
THE UNITED STATES,                             )
                                               )
               Defendant.                      )

                DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE
            TO DEFENDANT’S CROSS-MOTION FOR PARTIAL DISMISSAL

       Defendant, the United States, respectfully submits this reply in support of its request that

the Court dismiss count IV of the complaint of plaintiff, Open Technology Fund (OTF).

                                         INTRODUCTION

       OTF’s response to our motion to dismiss confirms that the purported bid protest count of

OTF’s complaint is a futile attempt to fit a square peg into a round hole to obtain injunctive relief

that is unavailable under its breach of contract counts.

       First, OTF continues to allege that its “Grant Agreement” with the United States Agency

for Global Media (USAGM) is really a “procurement contract,” notwithstanding that OTF has,

until very recently, consistently referred to itself as a grantee and that it concedes that “the bulk

of the funds provided under the contract’s terms are intended not for ‘USAGM’s direct benefit,’

but for a broader ‘public purpose’—namely, the ‘purpose of promoting Internet freedom.’”

Pl. Resp. 3 (citation omitted).1



       1
          “Pl. Resp. __” refers to OTF’s response to our motion to dismiss count IV of OTF’s
amended complaint, filed on October 22, 2020. “Def. Mot. __” refers to our motion to dismiss
count IV, filed on October 15, 2020. “Def. App. __” refers to the appendix attached to our
motion to dismiss count IV. “Def. Rep. App. __” refers to the appendix attached to this brief.
“Pl. Mot. __” refers to OTF’s motion for a preliminary injunction, filed on October 1, 2020.
         Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 7 of 22




        Second, OTF asserts that it is a responsible source for a $20 million “procurement

contract” administering USAGM’s Internet-freedom programs, even though OTF: 1) does not

dispute that it cannot perform the procurement contract it seeks without advance funding from

USAGM, and it has not demonstrated the ability to obtain that advance funding; and 2) declined

to address its specific failures to comply with a material term of its agreement that we identified

in our motion to dismiss, instead simply asserting that the correspondence in the Court’s record

“speaks for itself.” Id. at 5-6.

        Third, OTF continues to implausibly assert that USAGM’s alleged “in-sourcing” violated

the Economy Act, even though OTF does not allege that USAGM entered into any Economy Act

agreements to effect the alleged in-sourcing. As demonstrated in our motion, because the

Economy Act is an authority that is inapplicable to the alleged in-sourcing, the remainder of

count IV must also be dismissed because: 1) general allegations that USAGM in-sourced

irrationally or in bad faith, untethered to a particular procurement statute or regulation, are

outside this Court’s bid protest jurisdiction; and 2) decisions regarding how to allocate

appropriated funds are only reviewable to the extent Congress has expressly restricted the use of

the funds. OTF does not respond to these contentions, effectively conceding them.

        Fourth, OTF does not dispute that its “in-sourcing” protest seeks to prevent USAGM

from awarding Government contracts, which is the antithesis of in-sourcing. OTF’s allegations

that USAGM is illegally in-sourcing by performing the inherently governmental functions of

awarding and administering contracts fails to state a claim upon which relief can be granted.




“Pl. App. __” refers to the ECF page number of the declaration and exhibits attached to OTF’s
motion for a preliminary injunction.


                                                  2
         Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 8 of 22




       Accordingly, the Court should dismiss count IV of OTF’s complaint and end OTF’s most

recent attempt to interfere with the efforts of USAGM, OTF’s sole benefactor, to promote

Internet freedom.

                                         ARGUMENT

I.     The Court Should Dismiss Count IV Because OTF Has Not Demonstrated That Its
       Claim Is In Connection With A Procurement Or Proposed Procurement

       In its response, OTF continues to erroneously assert that this Court possesses jurisdiction

to entertain its purported in-sourcing protest because the fiscal year (FY) 2020 “Grant

Agreement” between OTF and USAGM is really a “procurement contract.” See Pl. Resp. 1-4.

As we demonstrated in our motion: 1) OTF’s argument is barred by the principles of waiver and

estoppel; and 2) the grant agreement is not a procurement contract because the principal purpose

of the relationship between USAGM and OTF is to transfer a thing of value (money) to OTF to

support and stimulate the public purpose of promoting Internet freedom, not to acquire OTF’s

services for USAGM’s direct benefit. Def. Mot. 21-30. In its response, OTF fails to

demonstrate otherwise.

       A.      OTF’s Argument That It Has A Procurement Contract With USAGM Is
               Waived And Estopped

       In our motion to dismiss, we demonstrated that principles of waiver and estoppel

preclude OTF from now asserting that its FY 2020 grant agreement is actually a procurement

contract. Id. at 22-25. As a program within Radio Free Asia (RFA), OTF submitted a “Grantee

Proposal” to USAGM. Def. App. 153. USAGM then notified Congress of its intent “to provide

funds to establish an independent non-profit grantee to implement the agency’s Internet freedom

programs.” Id. at 233 (emphasis added). The FY 2020 agreement signed by OTF: 1) is plainly

labeled a “Grant Agreement”; 2) “grants” OTF nearly $11 million, including up to $500,000 for



                                                3
         Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 9 of 22




“One-time Startup Costs”; and 3) is subject to the laws governing grant agreements. Pl. App. 39,

41, 49, 54, 70; Def. App. 526-28. And, as recently as August 31, 2020, OTF stated in Federal

court that “OTF is a ‘grantee’” whose grant “indirectly support[s] USAGM’s mission[.]” Def.

App. 589, 591.

       Notwithstanding all of this, OTF erroneously argues that it has not waived its ability to

assert that its grant agreement is really a procurement contract because it “is not challenging the

validity of its contract with [USAGM] or complaining about a problem in the contract’s terms—

including the contract’s characterization as a grant agreement.” Pl. Resp. 2. OTF is effectively

challenging the validity of its contract or at least complaining about its terms.

       The agreement at issue is either a “grant agreement” or a “procurement contract,” it

cannot be both. See Frankel v. United States, 842 F.3d 1246, 1251 (Fed. Cir. 2016); 31 U.S.C.

§§ 6303(1), 6304(1). Although OTF correctly asserts that a determination of the type of contract

is “not controlled by a label in the contract,” Pl. Resp. 1 (quoting Maintenance Eng’rs v. United

States, 749 F.2d 724, 726 n.3 (Fed. Cir. 1984)), this determination is ordinarily controlled by the

intent of the parties, as demonstrated by the language of the contract and, if necessary, extrinsic

evidence. See, e.g., Torncello v. United States, 681 F.2d 756, 762 (Ct. Cl. 1982) (en banc) (“The

Navy wanted to have to deal with only one contractor and executed a [requirements] contract

that was intended to obligate that one contractor for all of the tasks needed.”); Dynamics Corp. of

Am. v. United States, 389 F.2d 424, 429 (Ct. Cl. 1968) (“it is always true that ‘in the case of

contracts, the avowed purpose and primary function of the court is the ascertainment of the

intention of the parties.’”) (citation omitted). As demonstrated above, it is indisputable that the

parties intended to enter into a “grant agreement.” Accordingly, OTF’s argument that 31 U.S.C.

§ 6303 required USAGM and OTF to define their relationship through a procurement contract, is



                                                  4
        Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 10 of 22




really an attack on the validity of the agreement itself, or at least the terms of the agreement that

would only apply to a grant, not a procurement contract. E.g., Pl. App. 49 (“The Parties

acknowledge and agree that that the Parties are subject to all Federal rules and regulations

pertaining to grants”).

       OTF’s reliance upon Boeing Co. v. United States, 968 F.3d 1371 (Fed. Cir. 2020), is

misplaced. Pl. Resp. 2. In Boeing, the United States Court of Appeals for the Federal Circuit

held that waiver did not bar the plaintiff’s challenge to the validity of a regulation applicable to

the contract at issue because challenging that regulation before contract award would have been

futile, as the agency was required to apply the regulation regardless of the merits of the

plaintiff’s objection. 968 F.3d at 1378-80. Here, USAGM was not bound to illegally enter into a

grant agreement with OTF if a procurement contract was required by law. OTF’s assertion that

an objection to the characterization of the agreement as a grant agreement “would have changed

nothing” is baseless. Pl. Resp. 2.

       OTF’s reliance upon CMS Contract Management Services v. Massachusetts Housing

Finance Agency, 745 F.3d 1379 (Fed. Cir. 2014), is similarly misplaced. Pl. Resp. 2. In CMS,

the appellants were not contractors who had voluntarily entered into cooperative agreements;

rather, they filed pre-award protests objecting to the solicitation’s characterization of the

resultant contracts as cooperative agreements, rather than procurement contracts. See 745 F.3d at

1380, 1384-85. If the appellants had waited until after the solicitation closed to protest, then they

would have indeed waived their challenge to the solicitation’s characterization of the resultant

contracts as cooperative agreements. See Blue & Gold Fleet, LP v. United States, 492 F.3d 1308,




                                                  5
        Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 11 of 22




1313 (Fed. Cir. 2007); Ship Analytics, Inc., B-227084, 87-1 CPD ¶ 475, 1987 WL 102305, at *2

(Comp. Gen. 1987).2

       OTF also erroneously argues that estoppel is inapplicable because “OTF’s acceptance of

a contract titled ‘grant agreement’ was not ‘misleading’ because the nature of the contract is a

legal question that the parties do not control[.]” Pl. Resp. 2-3. As demonstrated above, the legal

question regarding the “nature of the contract” is ordinarily controlled by the intent of the parties.

OTF’s course of conduct, including submitting a “Grantee Proposal,” Def. App. 153, and signing

a “Grant Agreement,” Pl. App. 39, 54, resulted in what USAGM plainly thought (and still thinks)

is a “grant agreement,” not a “procurement contract.” As demonstrated in our motion and not

rebutted by OTF, there is no reason to believe that USAGM would have provided more than

$500,000 to fund OTF’s formation if it knew that OTF would assert that it is a typical

Government contractor, rather than a grantee. Def. Mot. 24-25.

       B.      The Principal Purpose Of The Relationship Between USAGM And OTF Is
               To Transfer A Thing Of Value To OTF To Support And Stimulate The
               Public Purpose Of Promoting Internet Freedom

       As demonstrated in our motion, OTF has also failed to show that its FY 2020 grant

agreement is a procurement contract because it has not shown that the “principal purpose” of the

FY 2020 grant agreement is “to acquire . . . property or services for the direct benefit or use of

the United States Government[.]” Def. Mot. 25-31 (quoting 31 U.S.C. § 6303(1)).

       In response, OTF effectively concedes that “the bulk of the funds provided under the

contract’s terms are intended not for ‘USAGM’s direct benefit,’ but for a broader ‘public



       2
         Hymas v. United States is also unhelpful to OTF because the plaintiff was not awarded
a cooperative agreement, it appears that there was no formal solicitation for the cooperative
agreements at issue, and the Government did not raise the issue of Blue & Gold waiver.
See 810 F.3d 1312, 1315-16 (Fed. Cir. 2016).


                                                  6
        Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 12 of 22




purpose’—namely, the ‘purpose of promoting Internet freedom.’” Pl. Resp. 3 (citation omitted).

But OTF erroneously argues that this is irrelevant because it is “just an ‘intermediary’ charged

with distributing the funds to third parties.” Id. (quoting CMS, 745 F.3d at 1384). As

demonstrated in our motion, OTF is not an “intermediary,” as that term is used in CMS, because

USAGM is not required to provide “assistance” to the people and entities that OTF funds, nor is

USAGM using OTF to provide a service to those people and entities. Def. Mot. 28. Rather,

USAGM is providing funding to assist OTF in OTF’s mission of expanding Internet freedom by,

for example, supporting the development of Internet-firewall-circumvention technologies. See,

e.g., Pl. Mot. 25-27, 41, 70; Def. App. 179, 526.

       Indeed, in a recent decision in District of Columbia v. Open Technology Fund, the

Superior Court of the District of Columbia found undisputed facts that “OTF was established for

the public purpose of facilitating access to circumvention and communications technologies to

journalists and audiences in countries where access to independent media is restricted” and that

“OTF receives funds through annual grant agreements from [USAGM] to help fulfill its

mission.” Def. Rep. App. 4 (emphasis added). In contrast, in CMS, the contractors were “not

receiving assistance from the federal agency but [were] merely used to provide a service to

another entity which is eligible for assistance.” 745 F.3d at 1386 (citation omitted) (emphasis

added). That OTF has chosen to primarily enter into contracts to fulfill its mission, rather than

expand its own operations to develop Internet-freedom technologies, see Def. App. 529, does not

make OTF an “intermediary,” as that term is used in CMS.

       Also, unlike in CMS, where the Federal Circuit determined that the contractors had “no

rights to, or control over,” the funds that were provided for housing assistance payments, 745

F.3d at 1386, OTF does have some “control over” the funds granted to it to support Internet-



                                                 7
         Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 13 of 22




freedom projects, such as its ability to choose contractors for Internet-freedom projects, subject

to the terms of the grant agreement and USAGM’s oversight. See Pl. App. 39-73; Def. App.

526-29. For example, OTF is only required to provide USAGM with advance notice of a new

contract in limited circumstances, e.g., where the contract exceeds $350,000 (or $200,000 for a

lease). See Pl. App. 47-48.

         Because OTF has not demonstrated that its “Grant Agreement” with USAGM is really a

procurement contract, this Court should dismiss count IV of OTF’s complaint for lack of

jurisdiction.

II.      OTF Lacks Standing Because It Has Not Shown That It Is A Qualified Bidder For
         The “Procurement Contract” It Seeks

         As demonstrated in our motion to dismiss, even if this Court determines that OTF has

brought a procurement protest, then it should still dismiss count IV for lack of jurisdiction

because OTF has not demonstrated that it has standing to bring the protest. Def. Mot. 30-34.

Specifically, OTF has not demonstrated that it is a responsible source for a procurement contract

“administering [USAGM’s] internet-freedom program and related grants,” Am. Compl. 27,

because it has not demonstrated that: 1) it has adequate financial resources to perform such a

contract or the ability to obtain them; and 2) it has a satisfactory performance record. Def. Mot.

31-34.

         With regard to its financial resources, OTF does not deny that it cannot perform the

contract it seeks without advance funding from USAGM, but erroneously argues that “there is no

reason why OTF should need to do so[.]” Pl. Resp. 5. The default rule for procurement

contracts is that “a payment under a contract to provide a service or deliver an article for the

United States Government may not be more than the value of the service already provided or the

article already delivered.” 31 U.S.C. § 3324(a) (emphasis added). If, as OTF alleges, USAGM


                                                  8
        Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 14 of 22




is truly acquiring services from OTF, rather than transferring a thing of value to OTF to carry out

a public purpose, see Pl. Mot. 14-15, then the default rule is that OTF should perform the

services before being paid. Because it is undisputed that OTF does not presently have the

financial resources to perform the contract it seeks, and OTF has not demonstrated that it has the

ability to obtain those resources by advance funding from USAGM or otherwise, OTF has not

demonstrated that it is a responsible contractor. FAR 9.104-1(a); cf. CliniComp Int’l, Inc. v.

United States, 904 F.3d 1353, 1360 (Fed. Cir. 2018) (rejecting the plaintiff’s argument that it was

responsible because it could subcontract some of the work required under the proposed contract,

because the plaintiff “has not supplied any details regarding how, or with whom, it would

subcontract to perform what is required under the proposed contract”).

        That OTF was provided advance funding during the course of its FY 2020 grant

agreement is not relevant to OTF’s standing. Any bid protest by OTF must be based upon its

status as an “actual or prospective bidder[] or offeror[]” for a contract, not its status as a current

contractor. E.g., Kellogg Brown & Root Services, Inc. v. United States, 117 Fed. Cl. 764, 768-69

(2014) (citation omitted). OTF has not demonstrated that USAGM would provide for advance

funding in a future agreement with OTF, if the agreement was intentionally structured as a

“procurement contract,” rather than a grant agreement.

        In our motion, we also demonstrated – by identifying specific deficiencies in OTF’s

responses to USAGM’s requests for copies of OTF’s contracts and for information relating to

potential conflicts of interest – that OTF does not have a satisfactory performance record.

Def. Mot. 33-34. In response, OTF does not address these deficiencies; instead, OTF simply

states that its correspondence with USAGM “speaks for itself.” Pl. Resp. 6. OTF also falsely

alleges, without citation, that USAGM has “repeatedly, over the course of ten years, awarded



                                                   9
        Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 15 of 22




OTF the precise contract that the agency now seeks to insource.” Id. at 5. Prior to September

2019, any grant agreements involving OTF’s activities were with RFA, not OTF, as OTF was a

program within RFA, not a separate entity, between 2012 and September 2019. See Pl. App. 23-

24; Def. App. 233, 245. In any event, OTF’s performance on its most recent agreement has been

seriously deficient, which indicates that OTF is nonresponsible. See FAR 9.104-3(b).

       OTF’s reliance upon the fact that USAGM has not yet taken the drastic step of

terminating the FY 2020 grant agreement – which would require OTF to “forthwith return any

portion of the Grant Funds in its possession or control to USAGM,” Pl. App. 53-54 – is

misplaced. Pl. Resp. 6. “A nonresponsibility determination may be based upon the contracting

agency’s reasonable perception of inadequate prior performance, even where the agency did not

terminate the prior contract for default[.]” E.g., MG Altus Apache Co. v. United States, 111 Fed.

Cl. 425, 449 (2013) (citation omitted).

       OTF also erroneously suggests that a dismissal for lack of standing would be

inappropriate because USAGM has not previously determined OTF to be nonresponsible.

See Pl. Resp. 6. On multiple occasions, the Federal Circuit has affirmed a finding by this Court

that the plaintiff failed to demonstrate its responsibility for a contract, even where the agency had

not determined the plaintiff nonresponsible for that contract. CliniComp, 904 F.3d 1353; Myers

Investigative & Sec. Servs., Inc. v. United States, 275 F.3d 1366 (Fed. Cir. 2002). “In

challenging an award in court, the burden rests on the protester to affirmatively demonstrate

responsibility.” Myers, 275 F.3d at 1371 (emphasis added). Because OTF has failed to

demonstrate that it is a responsible source for the contract it seeks, it has failed to demonstrate

prejudice, and count IV of its complaint should be dismissed for lack of standing.




                                                 10
        Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 16 of 22




III.   OTF Has Not Made A Non-Frivolous Allegation That USAGM’s Alleged
       In-sourcing Violated A Statute Or Regulation

       In our motion, we demonstrated that count IV of OTF’s complaint should be dismissed

for lack of jurisdiction or for failure to state a claim because: 1) OTF’s alleged violations of the

Economy Act (and a related statute and regulation) are meritless because the Economy Act is

inapplicable to the alleged in-sourcing; and 2) OTF’s allegations that the in-sourcing was

irrational and based upon bad faith, untethered to any procurement statute or regulation, are not

within this Court’s jurisdiction. Def. Mot. 34-38. In its response, OTF does not address the

latter issue, thereby conceding it. See, e.g., CardSoft, (assignment for the Benefit of Creditors),

LLC v. Verifone, Inc., 807 F.3d 1346, 1353 (Fed. Cir. 2015); Philadelphia Auth. for Indus. Dev.

v. United States, 114 Fed. Cl. 519, 527-28 (2014).

       Regarding the Economy Act, OTF continues to erroneously assert that USAGM violated

31 U.S.C. § 1535 and 22 U.S.C. § 6204(a)(16) by in-sourcing OTF’s activities without making

the findings required by 31 U.S.C. § 1535(a). Pl. Resp. 6-10. As we previously demonstrated,

the primary flaw in OTF’s argument is that 31 U.S.C. § 1535 and 22 U.S.C. 6204(a)(16) plainly

provide USAGM with the authority to enter into Economy Act agreements; they do not require it

to do so. Def. Mot. 35-36. If USAGM chooses to in-source through other means, e.g., simply

assigning its employees to do work previously performed by a contractor, then neither the

Economy Act nor the “authorit[y]” in 22 U.S.C. § 6204(a)(16) are implicated. Accordingly, it is

not our position that USAGM can “opt out of the Economy Act’s requirements[.]” Pl. Resp. 7.

Rather, because the Economy Act and 22 U.S.C. § 6204(a)(16) are authorities, the requirements

of 31 U.S.C. § 1535(a) simply do not apply unless USAGM chooses to enter into an Economy

Act agreement.




                                                 11
        Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 17 of 22




       OTF incorrectly asserts that “taking funds away from an active procurement contract and

giving it instead to a department of the agency . . . unlike a typical intra-agency reallocation,

‘goes to the essence of the Economy Act.’” Pl. Resp. 8 (quoting Government Accountability

Office (GAO), Principles of Federal Appropriations Law, Third Ed., p. 12-27 (2008)). What the

GAO actually stated was that “the performing agency must be ‘in a position to supply or

equipped to render’ the materials or services in question . . . This requirement goes to the essence

of the Economy Act. The objective of the statute is to permit an agency to take advantage of

another agency’s experience or expertise, not merely to ‘dump’ either work or funds or to avoid

legislative restrictions.” Principles of Federal Appropriations Law, Third Ed., p. 12-27 (citation

omitted) (emphasis added). The GAO in no way suggested that “in-sourcing” “goes to the

essence of the Economy Act.”

       Moreover, OTF fundamentally misunderstands appropriations law. A proper

understanding of appropriations law demonstrates why USAGM has no need to enter into

Economy Act transactions to implement the alleged in-sourcing. When Congress provides a

particular appropriation to an agency, those funds are then apportioned to the agency by the

White House Office of Management and Budget (OMB), and the agency may then allocate those

funds within the apportionment. See GAO, Principles of Federal Appropriations Law, Fourth

Ed., p. 2-28 n.32 (2016) (“Congress appropriates, OMB apportions, and the receiving agency

allots (or allocates) within the apportionment.”). USAGM’s CEO has the “authorit[y]” to

“allocate funds appropriated for international broadcasting activities among the various elements

of [USAGM] and grantees,” 22 U.S.C. § 6204(a)(6), and no further authority is generally

necessary to “allocate” funds within an appropriation. See Lincoln v. Vigil, 508 U.S. 182, 193




                                                 12
        Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 18 of 22




(1993) (“as long as the agency allocates funds from a lump-sum appropriation to meet

permissible statutory objectives, [5 U.S.C.] § 701(a)(2) gives the courts no leave to intrude.”).

       In contrast, if an agency wants to “transfer” funds from an account funded by one

appropriation to an account funded by a different appropriation (e.g., to obtain goods or services

from a different agency), then it needs a specific statutory authority to do so. Principles of

Federal Appropriations Law, Fourth Ed., pp. 2-38, 2-44; see also 31 U.S.C. § 1532. “Transfer is

the shifting of funds between appropriations.” Principles of Federal Appropriations Law, Fourth

Ed., p. 2-38. The Economy Act is one example of a transfer authority. See id. at pp. 2-40, 2-43.

Indeed, 31 U.S.C. § 1535 is within a subchapter of Title 31 entitled “Transfers and

Reimbursements,” within the “Appropriation Accounting” chapter.

       This distinction between a “transfer” and an “allocation” (which includes

“reprogramming,” i.e., the “reallocation” of funds, 22 U.S.C. § 6204(a)(6)) explains why the

GAO determined that intra-agency Economy Act agreements must be between organizations

funded by separate appropriations. See Principles of Federal Appropriations Law, Third Ed.,

p. 12-33 n.24; see also Principles of Federal Appropriations Law, Fourth Ed., pp. 2-44 - 2-45

(“A transfer shifts budget authority from one appropriation to another. In contrast, a

reprogramming shifts funds within a single appropriation.”). As demonstrated in our motion,

because all of the funds at issue were appropriated to USAGM as a whole, rather than different

appropriations funding different organizations within USAGM, the Economy Act is not

applicable. Def. Mot. 36. In any event, even if one component of an agency could enter into an

Economy Act agreement to procure services from another component that is funded by the same

appropriation, as OTF argues, Pl. Resp. 8, that would not require it to do so. Rather, the agency

could simply allocate any funds necessary for the latter component to perform the services.



                                                 13
        Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 19 of 22




       Additionally, OTF’s argument that USAGM may “generally redistribute appropriated

funds within the agency [under 22 U.S.C. § 6204(a)(6)] without making the Economy Act’s

required findings,” but must make these findings when “it uses those funds for the specific

purpose of procuring goods and services” finds no support in the text of the statute. Pl. Resp. 10.

The plain language of 22 U.S.C. § 6204(a) demonstrates that subsections (a)(6) and (a)(16) are

two separate “authorities” of the USAGM CEO. Subsection (a)(6) expressly grants the CEO

authority to “allocate funds appropriated for international broadcasting activities among the

various elements of [USAGM] and grantees,” and there is no reason to believe that the separate

authority of subsection (a)(16) to “procure, pursuant to section 1535 of Title 31 . . ., such goods

and services from other departments or agencies” circumscribes the CEO’s authority under

subsection (a)(6).

       Even if the statutory grants of authority in 22 U.S.C. § 6204(a)(6) and (a)(16) overlap,

that does not mean that one limits the other. Home Savings of Am. v. United States, 399 F.3d

1341, 1357 (Fed. Cir. 2005) (“The statutory grants of authority—one general and one specific—

overlap rather than conflict . . . The specific grant of authority in [12 U.S.C.] § 1729(f) does not

implicitly limit [12 U.S.C.] § 1725(c)’s general grant of authority. Accordingly, both can and

should be given effect.”).

       OTF’s heavy reliance upon Halverson v Slater, 129 F.3d 180 (D.C. Cir. 1997), is

misplaced. Pl. Resp. 7, 9-10. In Halverson, the court rejected a party’s construction of two

statutes that would have rendered one of them essentially superfluous. 129 F.3d at 185. Here,

our interpretation of 22 U.S.C. § 6204(a)(6) and (a)(16) does not render subsection (a)(16)

superfluous. As demonstrated above, subsection (a)(16) allows the USAGM CEO to transfer

funds to different appropriation accounts of “other departments or agencies,” while



                                                 14
        Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 20 of 22




subsection (a)(6) does not. There is no overlap between 22 U.S.C. § 6204(a)(6) and (a)(16)

because the Economy Act does not apply to the allocation of funds within a single appropriation

to an agency and, even if there were overlap, there is certainly no inconsistency between these

two authorities.3 Moreover, as demonstrated above, 31 U.S.C. § 1535 and 22 U.S.C. § 6204

grant authority to enter into Economy Act agreements, so USAGM cannot violate these

provisions by not entering into an Economy Act agreement.4

       Because OTF’s amended complaint does not allege that USAGM entered into an

Economy Act agreement, but instead makes the baseless argument that, “[b]efore it can in-source

the services that OTF performs under the agreement, USAGM must comply with the Economy

Act, 31 U.S.C. § 1535, and its implementing regulations, 48 C.F.R. § 17.502-2,” Am. Compl. 28,

count IV of OTF’s complaint should be dismissed for lack of jurisdiction (if the Court

determines that the Economy Act allegations are frivolous) or for failure to state a claim.5




       3
          If any party’s argument renders a subsection of 22 U.S.C. § 6204(a) superfluous, it is
OTF’s. Because agencies generally function by “procuring goods and services” from their
components in the sense used by OTF (i.e., having employees of those components perform
work or obtain goods and services in furtherance of the agency’s mission), OTF’s interpretation
would appear to apply the Economy Act to nearly all, if not all, circumstances where USAGM
allocates funds to a component, rendering 22 U.S.C. § 6204(a)(6) essentially superfluous.
       4
          It is also not clear that the CEO’s authority under 22 U.S.C. § 6204(a)(16) to enter into
Economy Act agreements with “other departments or agencies” (emphasis added) encompasses
intra-agency agreements, even if the term “departments” is broader than the 15 Executive
departments identified in 5 U.S.C. § 101, as OTF argues. Pl. Resp. 9. Either way, for the
reasons stated above, 22 U.S.C. § 6204(a)(16) is inapplicable to the alleged in-sourcing.
Accordingly, the Court need not reach this issue.
       5
           In our motion, we demonstrated that FAR 17.502-2 does not apply to intra-agency
agreements. Def. Mot. 37. OTF did not address this in its response, thereby conceding the issue.
See, e.g., CardSoft, 807 F.3d at 1353; Philadelphia Auth., 114 Fed. Cl. at 527-28.


                                                15
          Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 21 of 22




IV.    Count IV Fails To State A Claim Because OTF Has Not Identified Any Statutory
       Violation, And Budgeting Decisions Regarding How To Allocate Limited
       Appropriations Are Otherwise Committed To Agency Discretion By Law

       In our motion, we demonstrated that because OTF’s allegations that USAGM violated

22 U.S.C. § 6204(a)(16) and 31 U.S.C. § 1535(a) fail to state a claim, the rest of count IV should

also be dismissed for failure to state a claim because, absent a statute circumscribing USAGM’s

discretion, its decisions regarding how to allocate its appropriations are unreviewable. Def. Mot.

38-39; see also Lincoln, 508 U.S. at 191-93. OTF did not address this issue in its response,

thereby conceding it. See, e.g., CardSoft, 807 F.3d at 1353; Philadelphia Auth., 114 Fed. Cl. at

527-28.

V.     Count IV Fails To State A Claim Because OTF Complains About USAGM
       Performing Inherently Governmental Functions For Which USAGM May Not
       Contract

       In our motion, we demonstrated that count IV also fails to state a claim because it

challenges USAGM’s in-house performance of the inherently governmental functions of

awarding and administering Federal contracts. Def. Mot. 39-40. In response, OTF sets up a

strawman by arguing that it is not performing inherently governmental functions under its grant

agreement because “OTF’s contracts are between the funding recipient and OTF—not between

the recipient and USAGM.” Pl. Resp. 10 (emphasis added).

       Even if it is legal for a Federal agency to enter into a procurement contract requiring the

prime contractor to award and administer contracts with subcontractors, which is a questionable

proposition, see Electra-Med Corp. v. United States, 140 Fed. Cl. 94 (2018), aff’d and remanded,

791 F. App’x 179 (Fed. Cir. 2019), Mythics, Inc., B-418785, 2020 CPD ¶ 295, 2020 WL

5425788, at *8-9 (Comp. Gen. 2020), that does not mean that OTF has raised a viable in-

sourcing challenge. OTF does not dispute that it is objecting to USAGM employees performing



                                                16
        Case 1:20-cv-01047-VJW Document 13 Filed 10/29/20 Page 22 of 22




the inherently governmental function of awarding and administering Federal contracts. See Pl.

Resp. 10. OTF cannot plausibly argue that USAGM is illegally in-sourcing by having USAGM

employees perform inherently governmental functions. OTF has no right to perform the

functions that it objects to USAGM performing in its complaint. Accordingly, count IV of

OTF’s complaint fails to state a claim upon which relief can be granted.

                                        CONCLUSION

       For these reasons and the reasons stated in our motion to dismiss, we respectfully request

the Court dismiss count IV of OTF’s complaint.

                                                 Respectfully submitted,

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                                               17
